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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )
                                                         )                      8:14CR209
                           Plaintiff,                    )
                                                         )
        vs.                                              )                       ORDER
                                                         )
JEFFREY NEGUS and                                        )
GREGORY NEGUS,                                           )
                                                         )
                           Defendants.                   )


        This matter is before the court on the motions for an extension of time by defendants Jeffrey Negus and
Gregory Negus (Filing Nos. 20 and 22). The defendants seek an extension of sixty days in which to file pretrial

motions in accordance with the progression order (Filing No. 15). Gregory Negus has filed an affidavit and

Jeffrey Negus' counsel represents Jeffrey Negus will file an affidavit wherein they consent to the motion and
acknowledge they understand the additional time may be excludable time for the purposes of the Speedy Trial

Act. It is represented that government's counsel has no objection to the motion. Upon consideration, the

motions will be granted.


        IT IS ORDERED:
        Defendant Jeffrey Negus' and Gregory Negus' motions for an extension of time (Filing Nos. 20 and 22)
are granted. The defendants are given until on or before October 9, 2014, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such motions and outweigh
the interests of the public and the defendants in a speedy trial. The additional time arising as a result of the

granting of the motions, i.e., the time between August 7, 2014, and October 9, 2014, shall be deemed

excludable time in any computation of time under the requirement of the Speedy Trial Act for the reason
defendants' counsel require additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant additional time might result
in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 7th day of August, 2014.
                                                              BY THE COURT:

                                                              s/ Thomas D. Thalken
                                                              United States Magistrate Judge
